Case 1:21-cr-00003-RCL Document 57 Filed 07/06/21 Page 1 of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Case No. 21-cr-3 (RCL)

JACOB ANTHONY CHANSLEY,

Defendant.

 

 

ORDER
For the reasons set forth in the accompanying Memorandum Opinion, the Court hereby
DENIES defendant Jacob Anthony Chansley’s motion to reopen his detention hearing and for
release from custody, ECF No. 40.

It is SO ORDERED.

Date: July 6, 2021 c: Sorttts

Hon. oyce C. Lamberth
United States District Judge

 
